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 5
 6 Attorney for Defendant
   LEVON VARTANYAN
 7
 8
                            UNITED STATES DISTRICT COURT
 9
                   FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11 UNITED STATES OF AMERICA,            )       No. CR-S-04-0024LKK
                  Plaintiff,            )
12                                      )       STIPULATION TO CONTINUE
13        v.                            )       STATUS CONFERENCE; AND
                                        )       ORDER
14 LEVON VARTANYAN,                     )
     aka Levon Vardanyan,               )       CURRENT DATE:
15      Gevorg Grigoryan,               )       July 12, 2005 at 9:30 am
16      Gevorg Grigoryan,        )              PROPOSED DATE:
                  Defendant.     )              October 18, 2005 at 9:30 am
17 ______________________________)

18
19        Defendant LEVON VARTANYAN by and through his attorney of

20 record, Garo B. Ghazarian, and plaintiff, UNITED STATES OF
21 AMERICA, by and through Assistant United States Attorney
22 Daniel S. Linhardt, hereby seek and stipulate to a continuance
23 of the status conference date. The status conference for
24 defendant LEVON VARTANYAN in this matter is currently
25 scheduled for July 12, 2005, at 9:30 a.m. The parties seek to
26 continue the status conference to October 18, 2005, at 9:30
27 a.m.
28

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 1
          THE PARTIES HEREBY STIPULATE AND AGREE AS FOLLOWS:
 2
          1. Defendant LEVON VARTANYAN appeared before Magistrate
 3
     Peter Nowinski on June 7, 2005. The Speedy Trial Act of 1974,
 4
     18 U.S.C. § 3161(C)(1) originally required that the trial of
 5
     defendant LEVON VARTANYAN commence on or before August 17,
 6
     2005.
 7
          2.   On June 7, 2005, defendant LEVON VARTANYAN was
 8
     arraigned on the indictment before the Honorable Peter
 9
     Nowinski, at which time, a status conference was scheduled for
10
     July 12, 2005.    The court found that the time period from June
11
     7, 2005, to July 12, 2005 was excludable time within the
12
     meaning of the Speedy Trial Act, 18 U.S.C. § 3161, et seq.
13
          3.   By this stipulation, the defendant moves to continue
14
     the status conference from July 12, 2005, at 9:30 a.m. to
15
     October 18, 2005, at 9:30 a.m. The Government does not object
16
     to the continuance.
17
          4.   The requested continuance is necessary because
18
     defendant LEVON VARTANYAN has agreed to cooperate with the
19
     Government.   At this time, the defendant is being evaluated by
20
     the Government for further cooperation.        Numerous meetings
21
     between defendant LEVON VARTANYAN and the Government’s agent
22
     are required to corroborate the defendant’s underlying
23
     cooperation. The parties need additional time, for said
24
     evaluation and determine if a pretrial disposition regarding
25
     this matter is possible.     Until this is accomplished, defense
26
     counsel cannot competently and adequately advise defendant
27
     LEVON VARTANYAN in this matter.
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 1
          5.   Failure to grant the above-requested continuance
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     would deny the defendant’s counsel the reasonable time
 3
     necessary for effective preparation and representation of
 4
     defendant LEVON VARTANYAN, for effective plea negotiations,
 5
     and for trial preparation if plea negotiations fail, taking
 6
     into account the exercise of due diligence.
 7
          6.   Defendant LEVON VARTANYAN’s counsel has discussed
 8
     defendant’s speedy trial rights and this stipulation with the
 9
     defendant.   Defendant LEVON VARTANYAN concurs with the
10
     requested continuance.
11
          7.   The time from July 12, 2005 to October 18, 2005,
12
     constitutes a reasonable period of delay.
13
          8.   Based on the foregoing facts, the ends of justice
14
     served by continuing the case as requested outweigh the
15
     interest of the public and the defendant in a trial within the
16
     original date prescribed by the Speedy Trial Act.
17
          9.   The time from July 12, 2005, to October 18, 2005,
18
     inclusive, is properly excludable from the computation of the
19
     time within which trial of this action must commence under the
20
     Speedy Trial Act, 18 U.S.C. § 3161 et seq.
21
          10. For the purpose of computing such time under the
22
     Speedy Trial Act, 18 U.S.C. § 3161, et seq., within which
23
     trial must commence, the time period starting July 12, 2005,
24
     to October 18, 2005, should be excludable pursuant to 18
25
     U.S.C. § 3161(h)(8)(A) because it results from a continuance
26
     granted by the judge at the defendant’s request without
27
     government objection on the basis of the judge’s finding that
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 1
     the ends of justice served by taking such action outweigh the
 2
     best interest of the public and the defendant in a speedy
 3
     trial.
 4
           11.   The parties agree and stipulate, and ask the Court
 5
     to find, that nothing in this stipulation shall preclude a
 6
     finding that other provisions of the Speedy Trial Act dictate
 7
     that additional time periods are excludable from the period
 8
     within which the status conference is scheduled.
 9
           12.   By his signature below, defendant’s counsel, Garo
10
     B. Ghazarian, represents that he has conferred with defendant
11
     LEVON VARTANYAN about this stipulation and that defendant
12
     concurs in all facts and requests contained in this
13
     stipulation.
14
     IT IS SO STIPULATED.
15
                                       Respectfully submitted,
16
17 Date: July 1, 2005                   /S/Garo Ghazarian
                                       GARO B. GHAZARIAN
18                                     Attorney for Defendant
                                       LEVON VARTANYAN
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20
21                                     McGREGOR W. SCOTT
                                       United States Attorney
22
                                       /S/Garo B. Ghazarian for Daniel
23 Date:      July 1, 2005             Lindhardt-phone authoriztion
                                       DANIEL S. LINHARDT
24                                     Assistant United States Attorney
25                                     Attorney for Plaintiff
                                       UNITED STATES OF AMERICA
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 1                                 O R D E R
 2        In light of the foregoing stipulation, and good cause
 3 appearing thereon, IT IS HEREBY FOUND AND ORDERED as follows:
 4        1.    The Status Conference for defendant LEVON VARTANYAN

 5 is continued from July 12, 2005, at 9:30 a.m. to October 18,
   2005, at 9:30 a.m.
 6
        2.   For the purpose of computing the time within which
 7
   trial must commence under the Speedy Trial Act of 1974, 18
 8 U.S.C. § 3161, et. seq., the period of time from July 12, 2005
 9 through and including October 18, 2005, shall be deemed
10 excludable pursuant to 18 U.S.C. §§ 3161(h)(8)(A).
11      IT IS SO ORDERED.

12
     Dated: July 11, 2005
13
                                 /s/Lawrence K. Karlton
14                               HONORABLE LAWRENCE K. KARLTON
15                               UNITED STATES DISTRICT COURT JUDGE

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